                                                 IN THE UNITED STATES DISTRICT COURT
                                                     WESTERN DISTRICT OF VIRGINIA
                                                          DANVILLE DIVISION

                    UNITED STATES OF AMERICA

                                      v.                                                    CASE NO. 4:18-CR-00012

                    JAVONTAY JACQUIS HOLLAND

                                       MOTION IN OPPOSITION TO THE GOVERNMENT’S
                                  EMERGENCY MOTION TO LIMIT DISCOVERY AND DISCLOSURE

                             Defendant Javontay Jacquis Holland opposes the Government’s Emergency Motion. Mr.

                    Holland adopts co-defendants’ response to the issue of providing discovery material to defendants

                    at penal facilities and directly responds to the government’s attempt to impede defense investigative

                    efforts below:1

                             Pragmatically, the government seeks to prevent the utterance of any witness name outside

                    the confines of the defense team. This draconian prohibition eviscerates any meaningful factual

                    investigation by the defense. It is impossible to effectively interview anyone without putting the

                    question in context, such as “X said you were at the house” or “Y said you sold drugs to him.”

                    Even if defense counsel merely mentioned a government witness’ name in an interview setting

                    without making any reference to that person’s status as a government witness or the fact he/she

                    testified in Grand Jury (e.g. “what do you know about X’s drug dealing activities with the Millas?”),

                    the interviewee would probably figure it out and a “creative” prosecutor would see it as an improper

                    disclosure.

                             In support of its attempt to hamper the defense, the government cites a recent killing of

                    Dwight Harris who is allegedly related to this case, claiming this event has led to an investigation

                    into the murder of a federal witness. What the government has not said is that it has any proof the


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ROANOKE, VIRGINIA     Mr. Holland does not challenge the Court’s power to restrict discovery or prevent the disclosure of witness names in
                    the most dire of circumstances. The scenerio in this case does not rise to the level.

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                    killing is related to any of the defendants for retaliatory purposes, much less any evidence that Mr.

                    Holland was somehow involved.2 From the only evidence provided to the defense, it appears Harris

                    was one of the “Philly Boys” who was involved in drug dealing activities in the Danville area. In

                    June 2016, Harris and a drug associate came to Danville armed to retrieve recently purloined drugs.

                    A shootout ensued between the Philly Boys and local residents, resulting in two people being

                    wounded. Harris was engaged in a high risk occupation where shootings are not uncommon and,

                    based on the evidence before the Court, his recent death probably has nothing to do with witness

                    retaliation.3

                             It is improper to handcuff a defendant’s investigative efforts to build a defense on mere

                    speculation unsupported by any facts.               Accordingly, defendant moves the Court to deny the

                    government’s Motion.

                                                                                   s/ Thomas J. Bondurant, Jr.
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                    2
                     Mr. Holland has been incarcerated for several months and there is no evidence he has contacted anyone with the
                    motivation of engaging in witness intimidation.
                    3
ROANOKE, VIRGINIA    It should also be noted the government did not raise this issue until invited to do so by the Court. If the problem is as
                    severe as the prosecution indicates, it is logical the matter would have been raised prior to Discovery Production #5.

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                                                     CERTIFICATE OF SERVICE

                           I hereby certify that I caused the foregoing to be presented to the Clerk of the Court for

                    filing and uploading to the CM/ECF system, which will send notification of such filing to all

                    counsel of record, on this 6th day of December, 2018.


                                                                        s/ Thomas J. Bondurant, Jr.




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